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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                     LONDON

  CRIMINAL NO. 03-18 KKC

  UNITED STATES OF AMERICA,                                                    PLAINTIFF,


  VS:                                         ORDER


  VIRGIL SIZEMORE, aka RUDY;                                                DEFENDANT

                                      *********

         This matter is before the Court on a Magistrate Judge’s Report and Recommendation

  that Petitioner’s Motion to Vacate and Set Aside Sentence be denied. [R. 173]

         No objections having been filed and the Court having reviewed the matter de novo,

  the Magistrate Judge’s Report and Recommendation [R. 173] is hereby adopted as the opinion

  of the Court and the Motion to Vacate [R. 162] is hereby DENIED.

         Dated this the 21st day of December, 2005.
